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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS
                            HOUSTON DIVISION



UNITED STATES OF AMERICA,              §
                                       §
                 Plaintiff,            §
                                       §
V.                                     §    CRIMINAL NUMBER H-12-161-S-02
                                       §
ALLET ALEX KHEIR,                      §
                                       §
                 Defendant.            §



                        MEMORANDUM OPINION AND ORDER


        Pending before the court is Defendant Kheir's              Motion to

Dismiss Superseding Indictment (Docket Entry No. 205).                 Having

carefully considered the motion, Defendant Kheir's Supplement to

Motion to Dismiss Superseding Indictment (Docket Entry No. 223),

Defendant     Kheir's     Second   Supplement     to   Motion    to   Dismiss

Superseding Indictment (Docket Entry No. 227), the United States'

Sealed Response to Defendant Alex Kheir's Motion to Dismiss (Docket

Entry No.      228)'    and   Defendant Kheir's    Reply    to   Government's

Response to Second Supplement to Motion to Dismiss Superseding

Indictment (Docket Entry No. 229)' the court is persuaded that

Kheir's motion should be granted as to Counts Three and Four of the

Superseding Indictment (Docket Entry No. 169), but should otherwise

be denied.

        On September 13, 2012, Kheir and his attorneys met with

agents and attorneys of the government pursuant to a proffer

agreement executed that day.         The proffer agreement stated:
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          In   order   to   assure   that    there   are   no
      misunderstandings concerning the meaning of "off-the-
      record," I am writing to clarify the ground rules for
      any "off-the-record" proffer or discussion with your
      client. First, statements made by or other information
      provided by your client during the "off-the-record"
      proffer or discussion will not be used against your
      client in any criminal case, including sentencing in
      your case, except as outlined above and in Sentencinq
      Guidelines § 1B1.8 (a) and (b), and the United States
      will comply with its obligations under Title 18,
      United States Code, Section 3661 and Application Note 1
      of § 1B1.8. This proffer does not apply to information
                          -


      related to crimes of violence.

          Second, the United States may make derivative use
      of and may pursue any investigative leads suggested by
      any statements made by or other information provided by
      your client, except with respect to evidence concerning
      the investigation on March 1, 2012. This provision is
      necessary in order to eliminate the necessity for a
      Kastisar hearing at which the United States would have
      to prove that the evidence it would introduce at trial
      is not tainted by any statements made by or other
      information provided by your client during the "off-
      the-record" proffer or discussion.

      During Kheir's proffer he disclosed that on March 1, 2012,

he had removed the hard drive from a security camera at a warehouse

and hidden it in the ceiling of the warehouse.             The government

later retrieved the hard drive and reviewed its contents.                  On

October 17, 2012, FBI Agent Mario S. Aguilar testified before the

Grand Jury about the conduct of Kheir in removing the hard drive

from the security camera and hiding it in the ceiling of the

warehouse.     Agent Aguilar' s testimony       included    the   following

exchange :
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        Pase 26, Lines 3-12:

        Q.  And does it show and corroborate the criminal
        activity of cleaning, shipping, receiving stolen over-
        the-counter medication and baby formula?

        A. Yes. It shows two clear dates on the February 24th
        where they were bringing in Similac, not in the proper
        wrappings that it should be, or genuine boxes, but
        they' re being put into a six-packs -- or a six-tray and
        they're being stacked up for shipment from Houston to
        New Jersey. And it displays that activity on the 24th
        and again on the 28th of February.

        On October 17, 2012, the Grand Jury returned a Superseding

Indictment.      Kheir and co-defendant Sameh Khaled Danhach were

charged in Counts Three and Four with interstate transportation of

stolen goods on February 24, 2012, and February 28, 2012.               It is

clear from the transcript of the October 17, 2012, Grand Jury

proceeding that Counts Three and Four were based               upon Agent

Aguilarrs review of the hard drive hidden by Kheir on March 1,

2012,    which   Kheir   disclosed   to   the   government     during      his

September 13, 2012, proffer session. The court concludes that the

use of the hard drive and its contents to indict Kheir on Counts

Three and Four of the Superseding Indictment violated the proffer

agreement. The second paragraph of the proffer agreement expressly

prohibited the government from making derivative use of evidence

concerning the investigation on March 1, 2012.

        The government argues in its Response (Docket Entry No. 228)

that other testimony by Agent Aguilar to the Grand Jury supports
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Counts Three and Four of the Superseding Indictment.'         The court is

not persuaded    by   the   government's   argument.      Although    Agent

Aguilar's testimony at pages 17 and 18 of the Grand Jury proceeding

supports Count One of the Superseding Indictment, this testimony

contains no reference to the receipt of stolen baby formula on

February 24 or February 28, 2012.       But elsewhere in his testimony

Agent Aguilar specifically described the receipt of stolen baby

formula on February 24 and 28, 2012, as shown on the hard drive.

No other evidence was presented to the Grand Jury to support Counts

Three and Four of the Superseding Indictment.

      The court concludes that the only evidence supporting Counts

Three and Four of the Superseding Indictment came from the contents

of the hard drive disclosed by Kheir during his proffer session,

and that the use of this information violated the terms of Kheir's

proffer agreement.    Although the government has argued that it is

not bound by the proffer agreement because Kheir violated the terms

of the agreement, the court ruled on February 8, 2013, that the

government had not shown that Kheir violated the proffer agreement.

Accordingly, Defendant Kheirfs Motion to Dismiss Counts Three and



     =The government quotes Exhibit A, which is the transcript of
a March 14, 2012, Grand Jury proceeding. The quoted language does
not appear in that transcript, however, but in the transcript of
the October 17, 2012, Grand Jury proceeding, which is attached as
Exhibit A to Defendant Kheirfs Reply to Governmentfs Response to
Second Supplement to Motion to Dismiss Superseding Indictment
(Docket Entry No. 229). It appears that the government attached
the wrong transcript to its Response.
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Four of the Superseding Indictment          (Docket Entry No. 205) is

GRANTED, and Counts Three and Four are DISMISSED as to defendant

Allet Alex Kheir.

      Kheir also argues that Counts One, Two, and Five of the

Superseding Indictment should be dismissed.          The court stated at

the February 8, 2013, hearing that it was not inclined to dismiss

those counts for the reasons explained at the hearing.           Kheir has

presented nothing in his subsequent briefing to persuade the court

that a different result is warranted.        Although Defendant Kheir's

Second Supplement to Motion to Dismiss Superseding Indictment

(Docket Entry No. 227) quotes testimony by Agent Aguilar obtained

from Kheir's proffer session that does support Count One of the

Superseding Indictment (Docket Entry No. 227 at page 6), Agent

Aguilar presented substantial additional evidence, independent of

Kheir's proffer session, to support Count One of the Superseding
                                     Z


Indictment.     Accordingly, Defendant Kheir's         Motion to Dismiss

Counts One, Two, and Five of the Superseding Indictment (Docket

Entry No. 205) is DENIED.

      SIGNED at Houston, Texas, on this 20th day of February, 2013.




                                           UNITED STATES DISTRICT JUDGE
